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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

                                           )
In re                                      ) Chapter 15
                                           )
MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-15
                                           )
           Debtor in a Foreign Proceeding. )
                                           )

 MEMORANDUM OF LAW IN SUPPORT OF PETITION FOR RECOGNITION AND
  APPLICATION FOR PROVISIONAL RELIEF, SCHEDULING HEARING, AND
            APPROVING FORM AND MANNER OF NOTICE




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                                    PRELIMINA
                                    P       ARY STAT
                                                   TEMENT

        1.         Roberrt Marie Mark
                                 M    Karpelles (“Karpeeles”), in hhis capacity as the fooreign

representtative (the “Petitioner””) of MtGo
                                          ox Co., Ltdd. a/k/a MttGox KK (tthe “Debtorr” or

“MtGox””), a debtorr in a civiil rehabilitattion proceeeding under Japanese law (the “JJapan

Proceedin
        ng”), curren
                   ntly pending before the Twentieth
                                           T         Ciivil Divisionn of the Tokyyo District C
                                                                                             Court,

Japan (th
        he “Tokyo Court”),
                  C        subm
                              mits this mem
                                          morandum iin support of his petitionn (the “Petittion”)

under Ch
       hapter 15 of title 11 of th
                                 he United Sttates (the “Bankruptcy C
                                                                    Code”) seeking recognitiion as

a foreign
        n representattive, and reccognition of the Japan Proceeding as a foreign m
                                                                                 main proceeeding,

and entry
        y of an order substantiallly in the forrm attachedd to the Verified Petitionn for Recognnition

and Chap
       pter 15 Relieef as Exhibitt A (the “Reecognition O
                                                        Order”), and in support oof his Appliccation

for an Orrder Granting
                     g Provisionaal Relief Purrsuant to Secctions 105(a)) and 1519 oof the Bankruuptcy

Code, Sccheduling Recognition
                  R           Hearing, and
                                       a   Specifyiing Form aand Mannerr of Noticee (the

“Applicaation”).

        2.         There are currentlly two action
                                                 ns pending aagainst the D
                                                                         Debtor in thee United Stattes in

which theere are near--approaching
                                 g court appeearances andd discovery ddeadlines, inccluding a heearing

on injuncctive relief against
                      a       the Debtor
                                  D      on March
                                            M     11, 20014. The Debtor’s partiicipation in these

lawsuits during the short time before
                               b      the Court
                                          C     rules on the Petittion would wastefully ddivert

resourcess away from
                   m administraation of thee Japan Pro ceeding. A
                                                                Accordingly, the Appliccation

seeks a stay of these actions to
                              t avoid irrreparable haarm to the administratiion of the JJapan

Proceedin
        ng.

I.      BACKGROU
        B      UND.

        A.
        A          MtGo
                      ox’s Businesss.

        3.         MtGo           nese corporaation formed in 2011. It is, and aalways has been,
                      ox is a Japan

located in
         n Tokyo, Jap
                    pan. Since itt was formed and up to February 255, 2014, it opperated an oonline

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bitcoin exchange through the weebsite mtgox
                                          x.com. MtG
                                                   Gox has operrated this exxchange sincce the

summer of 2011. There were tim
                             mes during th
                                         his period thhat MtGox w
                                                                was reportedd to be the laargest

online bitcoin exchan
                    nge in the wo
                                orld, but thaat is no longeer the case.

        4.         As seet forth in th
                                     he Declaration of the P
                                                           Petitioner (tthe “Karpelees Declaratiion”),

bitcoin iss a form of digital currency that was
                                            w first concceived of inn 2008 by a person or ggroup

going by
       y the name of
                  o Satoshi Nakamoto.
                            N         The first acctual bitcoinn was created, or “mineed” in

2009. Th
       here are seveeral ways in which a perrson can obtaain bitcoin, iincluding thee following:

                   o       Bitcoins are
                                     a “created”” through a computer ssoftware alggorithm whicch, at
                           any point in time, reesides on thhousands off computers on the Inteernet.
                           Persons who
                                     w     accept to certify bitcoin traansactions oover the biitcoin
                           peer-to-peeer network are
                                                  a remuneraated by the iissuance of a fixed numbber of
                           bitcoins, which
                                     w      evolvees over time.. The certifiication is done by the soolving
                           of an “alggorithm” witth the use off ever-more powerful coomputers. T     These
                           persons arre called “m
                                                miners” and the processs of obtaininng bitcoin inn this
                           fashion is called “miniing.”

                   o       A person can
                                      c also obtain bitcoins that have allready been mined by buuying
                           them from m another. These traansactions ccan consist of “one-to--one”
                           transactionns between a buyer and seller. In aaddition, a pperson can buy or
                           sell bitcoin
                                      n through an
                                                 n online exchhange, such as the exchhange operateed by
                           MtGox on   n the mtgoxx.com websiite. In thesee exchange transactionss, the
                           buyer and seller createe accounts att the exchannge and then fund the acccount
                           with curreency funds, bitcoin
                                                 b        or booth. The useer can then eenter a buy oor sell
                           order onlinne and the website
                                                 w         will match the bbuy or sell oorder with oone or
                           more sell or buy ord  ders. The bbuyer receivves an increaase in bitcooin in
                           his/her acccount and thhe seller recceives an inccrease in cuurrency in hiis/her
                           account. The
                                      T bitcoin exchange receives a fee or com         mmission foor the
                           transactionn.

                   o                 c also obtain and use bitcoin throough commercial or merchant
                           A person can
                           transaction
                                     ns; that is, a person cann use bitcoinn in certain circumstancces to
                           pay for goods and serv vices.

        5.         Users store bitcoin
                                     ns in a digitaal “wallet” uusing either tthe softwaree provided ass part

of the biitcoin softw
                    ware or a waallet provideed by varioous providerrs. MtGox pprovides a w
                                                                                          wallet




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feature. A wallet can
                    n be materiaalized on a piece
                                            p     of papper and bitcooins need noot be storedd on a

computerr.

        6.         The MtGox
                       M     exch
                                hange allow
                                          wed persons with MtGoox accounts to buy andd sell

bitcoin among
        a                      his regard, a person wass to first opeen an accouunt at MtGoxx and
              themsselves. In th

was assig
        gned an account numbeer. Once a user
                                        u    wanted to start buyying or sellinng bitcoin oon the

mtgox website,
      w        he or she would
                             d need to “fu
                                         und” the acccount with cuurrency, bitccoin, or bothh. In

addition, the accountt holder wou
                                uld be subject to “anti-m
                                                        money launddering” (“AM
                                                                              ML”) proceddures.

Once thee account was
                  w “funded,,” the accou
                                       unt holder w
                                                  would have a “currencyy balance” in the

account, correspondiing to the amount
                               a      of currency
                                         c        he or she had a right to w
                                                                           withdraw; aand, a

“bitcoin balance”
         b        in the account,, correspond
                                            ding to the am
                                                         mount of bittcoin he or sshe had a rigght to

withdraw
       w.

        B.
        B          MtGo
                      ox’s Capitall Structure.

        7.         MtGo
                      ox has app
                               proximately ¥6.5 billioon ($63.9 million) inn liabilities and

approxim
       mately ¥3.84
                  4 billion ($37.7 million)) of assets aat present. M
                                                                    MtGox has no secured debt.

Approxim
       mately 12%
                % of the equ
                           uity in MtG
                                     Gox is held by the devveloper of thhe initial M
                                                                                   MtGox

software,, Jed MacC
                  Caleb, with the remainiing equity hheld by Tibbanne Co., Ltd., a Japaanese

corporatiion located in
                      n Japan.

        C.
        C          Busin
                       ness Challen
                                  nges.

        8.         The mtgox.com
                       m         website
                                 w       has been subjeect to numerrous attemppts by persoons to

breach itts security, create denial of servicce (“DOS”) situations, or to otherrwise “hackk” the

system, and
        a this has been the caase since MttGox startedd operating tthe website in July 2011. In

certain ciircumstances such attem
                                mpts have led to the com
                                                       mpany shuttiing down thhe site for peeriods

at a time..



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        9.         On Feebruary 7, 2014,
                                   2     MtGox
                                             x halted all bitcoin withhdrawals byy its customers—

this was because MttGox was th
                             he subject to
                                         o a massive theft or disaappearance of bitcoins bbeing

held by MtGox botth on behalff of its cusstomers and itself. Thhis theft or disappearannce is

        y the subjectt of an inten
currently                        nse investig
                                            gation whichh required M
                                                                   MtGox to deevote most oof its

resourcess. As of th
                   he present tiime MtGox believes thhe theft or ddisappearancce was causeed or

related to
         o a flaw in th
                      he software algorithm th
                                             hat underliess bitcoin, andd “hacking” attacks of oone or

more perrsons. On February
                  F        24, 2014, MtGo
                                        ox suspendeed all tradingg after internnal investigaations

discovereed a loss off 744,408 bitcoins presumably from
                                                      m this methhod of theft.           These eevents

caused am
        mong otherss MtGox to become
                              b      insolvent and to file the Japaan Proceedinng.

        D.
        D          MtGo
                      ox’s Japan Proceeding
                                 P          and Corporrate Reorgaanization un
                                                                            nder the JCRA.

        10.        In ord
                        der to protecct the MtGo
                                               ox business as a going concern andd retain its vvalue

while MttGox investigates the theeft of the bitccoins under its control aand addresses security deefects

in the bittcoin exchan
                     nge, MtGox filed a petittion (the “Jap
                                                         apan Petitionn”) for the coommencemeent of

the Japan
        n Proceeding
                   g in the Tok
                              kyo Court pursuant
                                        p        to A
                                                    Article 17(11) of the Jappanese Corpporate

Reorganiization Act (Kaisha Kossei Ho) (thee “JCRA”) oon February 28, 2014, rreporting thaat the

company
      y had lost almost 750,0
                            000 of its cu
                                        ustomers’ biitcoins, andd around 1000,000 of its own

bitcoins, totaling around 7% of all
                                a bitcoins in
                                            n the world,, and worth aaround $4733 million neaar the

time of th
         he filing. The
                    T Japan Peetition is attaached as Exhhibit A to thhe accompannying Declarration

of Robert Marie Marrk Karpeles (the
                               ( “Karpelles Declaratiion”).

        11.        The JC
                        CRA is inten
                                   nded to be used
                                              u    for the rrehabilitation and reorgaanization of large

corporatee debtors. The Japan Proceeding is a civil rehabilitatioon. The puurpose of a civil

rehabilitaation proceeeding is to formulate a rehabilitation plan as consented tto by a requuisite

number of
       o creditors and confirm
                             med by the co
                                         ourt, to apprropriately cooordinate thee relationshiips of



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rights beetween creditors and thee debtor, witth the aim oof ensuring rrehabilitation of the debbtor’s

business or economicc life.

        12.        In add
                        dition to the petition for commencem
                                                           ment, MtGoxx also filed aapplications for a

                     g order and for a comprrehensive prrohibition orrder, and forr the appointtment
temporarry restraining

of a supeervisor and examiner. By separatee orders dateed Februaryy 28, 2014, the Tokyo C
                                                                                        Court

granted these
        t     additio
                    onal applicatiions (collecttively, the “T
                                                            Tokyo Courtt Orders”). T
                                                                                   The Tokyo C
                                                                                             Court

Orders are
       a attached
                d, together with their English trannslation, ass Exhibits B
                                                                          B, C, D, annd E

respectiv
        vely, to the Karpeles
                     K        Decclaration.

        13.        The Tokyo
                       T     Courtt appointed Mr.
                                              M Nobuakki Kobayashi as MtGox’’s supervisoor and

examinerr. Under th
                  he Tokyo Co
                            ourt Orders, the Debtorr cannot exeecute an agrreement withh any

third parrty without the
                     t consent of the superrvisor and eexaminer. T
                                                                 The Debtor hhowever rem
                                                                                       mains

free to in
         nitiate or pu
                     ursue any leg
                                 gal proceediing providedd that the coosts of thesee proceedinggs be

approved
       d by the supervisor and examiner. On
                                         O March 1 0, 2014, Mrr. Kobayashi, pursuant tto the

powers conferred
       c         upon by the To
                              okyo Court Orders, issuued a consennt allowing thhe Debtor too hire

Baker &M
       McKenzie to
                 o file this case and furtheer acknowleedging that thhe consent w
                                                                                was granted aat the

condition
        n that the MtGox’s
                   M       solee Director and
                                          a Chief Exxecutive Off
                                                              fficer, Mr. K
                                                                          Karpeles, filee this

Chapter 15 case as the foreign
                             n representaative of MtG
                                                    Gox.               A truue and corrrect copy oof the

         on for consent and the consent isssued by Mr.. Kobayashii is attachedd to the Karrpeles
applicatio

Declaratiion, togetherr with an Eng
                                  glish translaation, as Exhhibit F.

        14
         4.                     o MtGox’ss reorganizaation proceeedings hass not yet been
                   The schedule of

determin
       ned. Upon isssuance of th
                               he commenccement ordeer, the Tokyoo Court will set a deadliine to

file prooff of claims, submit a reh
                                  habilitation plan,
                                               p     etc. A
                                                          As additionall steps are taaken in the JJapan

Proceedin
        ng, this Cou
                   urt will be ad
                                dvised.



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           15.      This Chapter
                         C       15 case is bein                         maximize reecoveries too, and
                                               ng filed in aan effort to m

provide for an equittable distribution of vallue among, all creditorrs. The enjooining of ceertain

ongoing litigation to
                    o which MttGox and/orr its affiliattes are partties in conjuunction withh the

protections afforded by the Japan
                                n Proceeding
                                           g is essentiall to this efforrt. Please reffer to the Gaamlen

Declaratiion, which iss incorporateed and madee a part of thiis Petition as if restated herein, regaarding

the pendiing litigation
                      n against MtGox and/or its affiliates..

           16.      There are no oth
                                   her foreign proceedings
                                               p           that have bbeen filed bby, regardinng, or

against MtGox
        M     and which
                  w     are pen
                              nding.

           E.
           E        MtGo
                       ox’s US Litiigation Mattters.

           17.      MtGo
                       ox has been named as a defendant in two pennding lawsuiits in the U
                                                                                         United

States: CoinLab,
        C                       x KK1 and Tibanne
                 Incc. v. Mt. Gox         T       KK
                                                   K, No. 2:13-ccv-0777 (W.D. Wash. M
                                                                                    May 2,

2013) (th
        he “CoinLab
                  b Action”) and
                             a Gregory
                                     y Greene v. MtGox Inc., Mt. Gox K
                                                                     KK, Tibannee KK

and Mark
       k Karpeles, No. 1:14-cv
                             v-01437 (N..D. Ill. Febrruary 27, 20014) (the “C
                                                                            Class Action”” and

with the CoinLab Acction, the “U
                               US Litigation
                                           n Matters”).

           18.      Karpeeles is MtG
                                   Gox and Tib
                                             banne’s CE
                                                      EO and solee director.            MtGox Innc., a

Delawaree Corporatio
                   on, is a subssidiary of an
                                            nother MtGoox subsidiaryy, and has nneither operaations

or assets. Tibanne, as
                    a described
                              d above, is MtGox’s
                                          M       pareent. The exxchange com
                                                                           mplained of iin the

Class Acction is operaated by MtG
                                Gox in Japan..

                    1.      The CoinL
                                    Lab Action..

           19.      The CoinLab
                        C       Action was filed in the Uniited States D
                                                                       District Courrt for the Weestern

District of
         o Washingto
                   on by CoinL
                             Lab, Inc. (“C
                                         CoinLab”). T
                                                    The claims aasserted by C
                                                                            CoinLab arisse out

of that ceertain Exclussive Licensee Agreement for the USA
                                                         A & Canada (the “CoinL
                                                                              Lab Agreemeent”),


1
    MtGox iss sometimes referred to as Mtt. Gox KK.


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       ovember 22, 2012 and entered
dated No                    e       into between CooinLab on thhe one hand, and MtGoxx and

its paren
        nt corporation, Tibanne, Co. Ltd., a//k/a Tibannee KK, on thhe other. Unnder the CoiinLab

Agreemeent, CoinLab
                  b was gran
                           nted a licensse to use M
                                                  MtGox’s tecchnology too provide biitcoin

                    or customerss in the US and Canadda. As part of the CoinnLab Agreem
exchangee services fo                                                                 ment,

CoinLab agreed to op
                   perate the seervices in com
                                             mpliance wiith all appliccable laws.

        20.        The facts
                       f     disclossed in the CoinLab A
                                                       Action demoonstrate thaat: prior to final

implemen
       ntation of th
                   he CoinLab Agreement, it was deteermined thaat CoinLab w
                                                                          was not prooperly

registered
         d or licensed
                     d to perform
                                m the services called for uunder the CoinLab Agreeement; andd, as a

result off such nonp
                   performance by CoinLaab, MtGox ceased its oown perform
                                                                        mance undeer the

CoinLab Agreement,, which was never fully implemented
                                          i         d to begin w
                                                               with.

        21.        CoinL
                       Lab is suing MtGox and
                                          a   Tibann e for allegged breach of the CoiinLab

Agreemeent and breaach of the im
                               mplied duty of good faiith and fair dealing. CooinLab is seeeking

damages of $75,000,,000, which includes $5
                                         50,000,000 aarising from a liquidatedd damages cclause

in the CoinLab
       C       Agrreement, as well as acccounting annd restitutioon. In addittion, MtGoxx has

asserted a counterclaaim against CoinLab seeking to reccover $5.2 m
                                                                  million relatiing to CoinL
                                                                                           Lab’s

        on of custom
conversio          mer funds.

        22.        There is significaant discovery
                                                 y yet to be ccompleted inn the CoinLaab Action, w
                                                                                                 which

would reequire MtGo
                  ox to incur substantial
                              s           expenses
                                          e        andd expend siggnificant ressources. Am
                                                                                         mong

other thin
         ngs:

                   (a)    CoinLab has
                                  h noticed the deposittion of Karppeles for M
                                                                             March 25 andd 26,

                          2014 in Taiwan. Karpeles
                                          K        is the Petitiooner and pproposed fooreign

                          representaative in this Chapter
                                                  C       15 pproceeding, tthe Debtors’’ Chief Execcutive

                          Officer, an
                                    nd sole direector of the Debtor, andd the individdual that is most



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                          knowledgeeable aboutt the technoological deefects that hhave led too the

                          Debtor’s current
                                   c       finan
                                               ncial problem
                                                           ms.

                   (b)    MtGox neeeds to takee several deppositions to complete ppreparation oof its

                          defenses, including th
                                               he depositionns of CoinL
                                                                      Lab’s formerr Chief Finaancial

                          Officer, CoinLab’s
                                   C         former
                                             f      busi ness develoopment mannager, and third

                          parties witth knowledg
                                               ge of CoinLaab’s lack of rregulatory coompliance aand/or

                          CoinLab’ss conversion
                                              n of the custoomer funds.

                   (c)    Summary judgment
                                  j        motions
                                           m       will llikely be fileed in the nexxt few monthhs.

                   (d)    CoinLab has
                                  h served a discovery rrequest, a ressponse to w
                                                                                which is due on or

                          about March 17, 201
                                            14, which sseeks, amonng other thiings, producctions

                          and/or insp
                                    pection of MtGox’s
                                               M       entiire customerr database, a request thaat will

                          result in substantial motion
                                                m      practiice. Expert disclosures are due Appril 7,

                          2014, which requires the
                                               t preparattion of experrt reports annd will lead tto the

                          deposition
                                   ns of such ex
                                               xperts.

                   (e)    CoinLab may
                                  m also seeek to deposee other witneesses before the June 6, 2014

                          discovery cutoff in thee CoinLab A
                                                           Action.

        23.        Relev
                       vant litigatio
                                    on schedulin
                                               ng dates inn the CoinL
                                                                    Lab Action are as follows:

(i) April 7, 2014, as the deadlinee to disclosee expert witnnesses and ssubmission oof expert wiitness

reports; (ii)
         ( May 2, 2014, as thee deadline to
                                          o serve writtten discoverry; (iii) June 6, 2014, aas the

deadline to completee discovery; (iv) July 7, 2014,
                                              2     as the deadline to file disposittive motionss; and

(v) Noveember 3, 2014, the date of
                                o trial.

        24
         4.        If the CoinLab Action
                                  A      is nott stayed in iits entirety, MtGox willl need to exxpend

substantiial monetary
                    y and person
                               nnel resourcces to prepaare expert reports, preppare responsses to



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discovery           a prepare for depositio
        y requests, and                   ons. Given the approaching deadlinnes in this acction,

all of thiss must be do
                      one now if th
                                  here is no pro
                                               ovisional staay, even thouugh an autom
                                                                                    matic stay w
                                                                                               will be

in place upon
         u    recogn
                   nition of the Japan
                                 J     Proceeeding.

        F.
        F          The Greene
                       G      v. MtGox
                                 M     Class Action.

        25.        On orr about Febru
                                    uary 28, 201
                                               14, newspappers and posttings on the Internet repported

that a pu
        urported classs action had
                                 d been filed in the Uniteed States Diistrict Court for the Norrthern

District of
         o Illinois ag
                     gainst “MtGo
                                ox” by an ind
                                            dividual nam
                                                       med Gregoryy Greene.

        26.        On March
                      M     5, 2014
                                  4, counsel to
                                              o MtGox recceived an em
                                                                    mail from ann attorney named

Steven Woodrow;
       W        a copy of th
                           hat email (w
                                      without all aattachments)) is attachedd to the Gaamlen

Declaratiion as Exhib
                    bit A. As caan be seen from
                                           f    that em
                                                      mail, Mr. W
                                                                Woodrow staated, among other

things, th
         hat:

                   (a)    His “…law
                                  w firm repreesents Gregoory Greene iin the litigatiion recentlyy filed

                          in the No
                                  orthern Disttrict of Illinnois againstt Mt. Gox…
                                                                                 ….” and thaat he

                          understood
                                   d that Bakeer &McKennzie represeents Mt. Goox in a sepparate

                          matter pen
                                   nding in the Western Diistrict of Washington, whhich I understood

                          to refer to the CoinLab
                                                b Action.

                   (b)    His firm had
                                   h filed a motion
                                             m      for teemporary reestraining order (“TRO””) and

                          preliminarry injunctio
                                               on and wannted to knoow if our firm woulld be

                          representin
                                    ng “Mt. Gox
                                              x” in the mattter.

        27.        Mr. Woodrow
                       W                                              m had filed in the Norrthern
                               atttached seveeral papers tthat his firm

District of
         o Illinois acction. Certaiin of those papers
                                               p      are atttached heretto as discusssed below. T
                                                                                                 Those

papers demonstrate
       d           the
                   t followin
                            ng:

                   (a)    On Februaary 27, 2014
                                              4, Mr. Wooddrow’s firm ffiled a purpoorted class aaction

                          in the United Stated District Couurt for the N
                                                                       Northern Diistrict of Illiinois,

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                         entitled Gregory Greene v. MtGox Inc., et al., Case No. 1:14-cv-1437

                         (N.D. Ill. Feb. 27, 2014) (the “Greene Class Action” and with the CoinLab

                         Action, the “US Litigation Matters”). A copy of the complaint is attached

                         to the Gamlen Declaration as Exhibit B. In the Greene Class Action, the

                         lead plaintiff seeks to represent two classes: (i) all persons in the US who

                         paid a fee to MtGox to buy, sell, or otherwise trade bitcoin; and (ii) all

                         persons in the US who had Bitcoins or currency stored with MtGox as of

                         February 7, 2014, when MtGox halted all withdrawals of currency or

                         Bitcoins.

                   (b)   Four defendants are named in the Greene Class Action:           (i) MtGox;

                         (ii) MtGox, Inc.; (iii) Tibanne; and (iv) Karpeles. MtGox Inc. is a second

                         tier subsidiary of MtGox. It was formed in June 2013. It has never

                         conducted any business operations. The company was formed to, among

                         other things, operate certain US operations, including forming banking

                         relationships and obtain appropriate licenses in the US in light of

                         CoinLab’s failure to be so licensed. In June 2013, it registered with

                         FinCEN as a money transmitter business. It has been in the process of

                         seeking to obtain state money transmitter business licenses. Tibanne is the

                         parent of MtGox and owns 88% of the shares of MtGox.

                   (c)   The complaint asserts twelve causes of action against MtGox, MtGox,

                         Inc., Tibanne, and Karpeles, including consumer fraud, fraudulent

                         inducement, negligence, breach of fiduciary duty, breach of contract,

                         unjust enrichment, trespass to chattels, conversion, for which the lead



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                          plaintiff is
                                    i seeking a temporaary restrainiing order and prelim
                                                                                       minary

                          injunction, a permaneent injunctioon, an accounting, and imposition of a

                                    ve trust.
                          constructiv

                   (d)    On March
                                 h 4, 2014, Mr.
                                            M Woodrow
                                                    w’s firm fileed a motionn for a tempporary

                          restraining
                                    g order and preliminary
                                                p           injunction (“TRO”), of copy of whiich is

                          attached to
                                   t the Gamlen Declaraation as Exhhibit C.         T
                                                                                    The TRO m
                                                                                            motion

                          requests th
                                    hat the courtt: (i) freeze any of the defendants’ assets in thhe US

                          (including
                                   g any serverss or other com
                                                             mputer equiipment in thee US upon w
                                                                                               which

                          customer information regarding bbitcoins or ccurrency acccounts is stoored);

                          (ii) prohib
                                    bit the defeendants from
                                                           m transferrinng any bitccoin or currrency

                          belonging to the classs members; (iii) providee an accounnting of all oof the

                          defendantss’ outstandin
                                                ng liabilitiees; and (iv) impose a cconstructive trust

                          over the defendants’
                                   d           assets
                                               a      for thee exclusive bbenefit of thhe class mem
                                                                                                  mbers

                          and the deefendants to hold such aassets in trusst for the claass members and

                          immediateely transfer those
                                                t     assets to the class members. A hearing oon the

                          motion is scheduled
                                    s         fo
                                               or March 11,, 2014.

                   (e)    In addition
                                    n, in the mo
                                               otion referredd to above pplaintiff is seeking expeedited

                          discovery.

        28.        The claims asserted against MtGox
                                               M     in thee Greene Cllass Action iindicate thatt such

claims arrise out of the same faacts which led
                                           l to MtGoox’s insolveency and filing of the JJapan

Proceedin
        ng—the theft of MtGox
                            x customers’’ bitcoin andd MtGox’s cconsequent iinability to rreturn

such bitccoin to its cu
                      ustomers.       If the Green
                                                 ne Class Acttion is not sstayed in its entirety, M
                                                                                                  MtGox

will neeed to expen
                  nd substanttial monetarry and perrsonnel resoources to ddefend bothh the



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TRO/preliminary injunction motion (including its request for expedited discovery) as well as to

defend the litigation on the merits. Among other things:

                   (a)   The request for expedited discovery, if granted, will require MtGox to

                         divert substantial personnel resources to comply, as well as substantial

                         attorney fees at the same time MtGox is trying to devote its resources to

                         assisting in the Japanese Proceeding.

                   (b)   Preliminary injunction papers will have to be prepared.

                   (c)   Once defendants are served, responses to the complaint will have to be

                         prepared. The issues involved in the Greene Class Action have only

                         occurred recently, may not yet be fully understood, even by MtGox, and

                         are of a highly technical nature. A fair understanding of them will have to

                         gained in order to meaningfully respond to the complaint.        That will

                         require substantial resources and attorney fees.

                   (d)   Potentially complex and technical class certification issues will be

                         litigated. Among other things, the claims are based on Illinois state law

                         and involve issues of individual reliance.

                   (e)   Depositions will likely have to be taken of one or more MtGox personnel

                         in order to understand cause and extent of the bitcoin loss. Yet, these are

                         the same issues that are already being investigated in the Japan

                         Proceeding.

                   (f)   Experts may well have to be retained.




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                                              AR
                                               RGUMENT

II.     RECOGNIT
        R       TION OF MTGOX’S
                        M       FOREIGN R
                                        REPRESEN
                                               NTATIVE A
                                                       AND FORE
                                                              EIGN
        MAIN
        M    PROCCEEDING ARE
                         A   APPR
                                ROPRIATE
                                       E.

        A.
        A          Mr. Karpeles
                       K        Ma
                                 ay Be Recog
                                           gnized as M
                                                     MtGox’s Forreign Repressentative.

        29.        The teerm “foreign
                                    n representattive” is definned in sectioon 101(24) oof the Bankruuptcy

Code as follows:
        f

        The
        T term ‘forreign representative’ meeans a persoon or body, iincluding a person or
        body appointed on an interim bassis, authorizzed in a fooreign proceeeding to
        ad
         dminister the reorganizaation or the liquidation
                                               l          oof the debtorr’s assets or affairs or
        to
         o act as a rep
                      presentative of such foreign proceediing.

11 USC. § 101(24).

        30.        As set
                      s   forth in        peles Decl aration, thee Tokyo C
                                 n the Karp                              Court appoointed

Mr. Nobu
       uaski Kobay
                 yashi, a Jap
                            panese attorrney, as M
                                                 MtGox’s supervisor andd examiner.                    On

March 9,, 2014, Mr. Kobayashi, pursuant to
                                         o the generaal powers coonferred upoon him undeer the

JCRA an
      nd by order of
                  o the Tokyo
                            o Court, issu
                                        ued a consennt empowerinng MtGox’s sole directoor and

Chief Ex
       xecutive Offi
                  ficer, Mr. Kaarpeles, to fiile this Chappter 15 case as the foreign representtative

of MtGo
      ox. A true and
                 a correct copy of thee applicationn for consennt and the consent issueed by

Mr. Kobaayashi is atttached, togeether with an
                                             n English trranslation, aas Exhibit F to the Karrpeles

Declaratiion. Mr. Karrpeles thus qualifies
                                 q         as a foreign reprresentative uunder sectionn 101(24).

        B.
        B          The Japan
                       J     Proceeeding is a Foreign
                                              F       Pro ceeding.

        31.        The Bankruptcy
                       B          Code
                                  C    defines a “foreignn proceedingg” as “a colllective judicial or

administrrative proceeeding in a foreign coun
                                            ntry, includiing an interrim proceeding, under a law

relating to
         t insolvenccy or adjustm
                                ment of deb
                                          bt in which proceeding the assets aand affairs oof the




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debtor arre subject to control or supervision
                                  s           by
                                              b a foreignn court, for tthe purpose of reorganizzation

or liquidaation.” 11 USC.
                     U          23).2
                          § 101(2

         32.       In In re
                         r Betcorp Ltd.,
                                   L     400 B.R
                                               R. 266 (Bankkr. D. Nev. 2009), the B
                                                                                  Bankruptcy C
                                                                                             Court

for the District
        D        of Nevada
                    N      anallyzed wheth
                                         her an Austrralian volunntary windinng up proceeeding

could be recognized as a foreign
                               n proceeding
                                          g under Chappter 15. Thee court notedd that Chaptter 15

“incorporrate[s] the Model
                     M     Law on
                               o Cross-Bo
                                        order Insolveency,” and tto interpret tthe term “fooreign

proceedin
        ng,” “the court shall consider
                              c        its internationaal origin, annd the needd to promotte an

applicatio
         on of this ch
                     hapter that is
                                 i consistentt with the appplication of similar staatutes adopteed by

foreign ju
         urisdictions.” Id. at 275-76 (quoting
                                             g section 15008).

         To
         T fall within n the scope of
                                    o the Modell Law, a foreeign insolvenncy proceedding needs
         to
          o possess ceertain attribu
                                   utes. These include thee following: basis in innsolvency-
         reelated law of the originaating State; involvement
                                                 i           t of creditorss collectively; control
         orr supervision
                       n of the asseets and affairs of the debbtor by a couurt or anotheer official
         body; and reeorganization or liquidation of thee debtor ass the purposse of the
         prroceeding. . . .

Id. at 27
        76 (quoting
                  g UNCITRA
                          AL Model Law
                                   L   on Crooss-Border Insolvency With Guidde To

Enactmen
       nt, ¶ 32, at 10).
                    1

         33.       The court
                       c     then co
                                   onducted a leengthy exam
                                                          mination of tthe Australiaan winding up to

determin
       ne whether itt met the req
                                quirements, namely
                                            n      wheether it was: “(i) a proceeeding; (ii) thhat is

either jud
         dicial or adm
                     ministrative; (iii) that is collective inn nature; (iv)) that is in a foreign couuntry;

(v) that is authorized
                     d or conducted under a law
                                            l related tto insolvencyy or the adjuustment of ddebts;


2
         Thhe current defi
                         finition of “foreeign proceedin
                                                       ng” in the Bankkruptcy Code m makes clear thhe concept exppressed
in In re Netia
         N      Holdings,, S.A., 277 B..R. 571 (Bank   kr. S.D.N.Y. 2 002), a case uunder section 304, that an innterim
proceedingg qualifies as a foreign pro    oceeding. Seee id. at 580 (finding that the filing off an applicatioon for
commenceement started a continuous prrocess that plaiinly satisfied eeach of the requuirements neceessary to qualiffy as a
“foreign prroceeding”); seee also In re Compania
                                        C           Mexicana de Aviaccion, S.A., Chaapter 15 Case No. 10-14182 (MG)
(Bankr. S.D.N.Y. Aug. 16, 1 2010) (boaard of directorrs of foreign company can appoint foreiggn representatiive on
interim basis to initiate Chapter 15 prroceeding becaause under Meexican law mannagement rem     mains in controol until
Mexican Court
         C      replaces it). Indeed, cou urts have recog
                                                        gnized proceeddings under the JCRA as a fforeign proceedding at
the same procedural
          p           stag
                         ge as the Japann Proceeding. See In re Elpiida Memory, Innc., No. 12-100947 (Bankr. D   D. Del.
Apr. 24, 20
          012).


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(vi) in which the deb
                    btor’s assets and affairs are subject tto the controol or superviision of a fooreign

court; an
        nd (vii) which
                     h proceeding
                                g is for the purpose
                                             p       of reeorganizatioon or liquidaation.” Id. att 277.

The courrt concluded that all relev
                                  vant criteria were met annd recognizeed the Austraalian proceeding.

        34
         4.        MtGo
                      ox’s Japan Proceeding
                                 P          meets
                                            m     all of the criteria set forth inn section 101(23)

and the aforementioned cases, and
                              a is entitlled to recoggnition as a “foreign prroceeding” uunder

Chapter 15.

        35.        First, the Japan Proceeding
                                    P          is a “proceedding,” as it w
                                                                         was initiatedd by the filinng of

the petition to commence reorgan
                               nization procceedings.

        36.        Secon
                       nd, the Japan
                                   n Proceeding
                                              g is “judiciaal,” as the T
                                                                       Tokyo Court has exerciseed its

superviso
        ory powers by
                   b granting MtGox’s peetitions for a comprehennsive prohibbition order, for a

temporarry restraining
                     g order, and for the appo
                                             ointment of a supervisor and examinner.

        37.        Third
                       d, the Japan Proceeding
                                    P          is
                                               i “collectivee in nature” because all aaffected credditors

are invollved. The Beetcorp court found that a proceedinng was collecctive where it “considerrs the

rights an
        nd obligation
                    ns of all creeditors” in contrast
                                             c        to a “receivershhip remedy instigated aat the

request, and
         a for the benefit,
                   b        of a single secu
                                           ured creditorr.” 400 B.R
                                                                  R. at 281; seee also In re ABC

Learning
       g Centres Lttd., 445 B.R
                              R. 318, 328 (Bankr. D.. Del. 20100) (citing In re Betcorpp Ltd.

regarding
        g the meanin
                   ng of “collecctive in naturre”).

        38.        Fourtth, the Japan
                                    n Proceeding
                                               g is pending in Japan, a fforeign counntry.

        39.        Fifth,, the Japan Proceeding
                                              g is governned by the JCRA, whiich was iniitially

modeled on Chapter X of the Un
                             nited States Bankruptcy
                                          B          A
                                                     Act of 1898 and was am
                                                                          mended in 20002 to

                    ditious proceedure. The JCRA
facilitate more exped                       J    is intennded to be uused for the rrehabilitationn and

reorganizzation of larg
                      ge corporatee debtors.




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        40.        Sixth,, MtGox’s assets are subject to tthe court-apppointed suupervision oof the

superviso         miner, who has conferrred his autthority to M
        or and exam                                           Mr. Karpeless to continuue to

representt MtGox unttil a trustee is appointed.

        41.        Seven
                       nth, the objecctive of the Japan
                                                  J     Proceeeding is rehaabilitation off the Debtorr.

        42.        As alll of the criteeria required
                                                   d by section 101(23) aree satisfied, tthis Court shhould

recognizee the Japan Proceeding as a “foreiign proceediing” as requuired by secction 1517 oof the

Bankrupttcy Code.

        C.
        C          The Japan
                       J     Proceeeding is a Foreign
                                              F       Maiin Proceedin
                                                                    ng.

        43.        The Jaapan Proceeeding is also a “main” prroceeding. A “foreign m
                                                                                   main proceedding”

is defined
         d as a “foreiign proceedin
                                  ng” pending
                                            g in the counntry where thhe debtor haas the center of its

main inteerests. See 11 USC. § 1502(4). Section
                                        S       15166(c) provides a presumpption that, “iin the

absence of
        o evidence to the contraary, the debttor’s registerred office” ““is presumedd to be the ccenter

of the deebtor’s main
                    n interests.” 11 USC. § 1516(c); ssee also In re Bear Steearns High-G
                                                                                        Grade

Structureed Credit Strrategies Masster Fund, 37
                                              74 B.R. 1222, 127 (Bankkr. S.D.N.Y. 2007), aff’dd 389

B.R. 325 (S.D.N.Y. 2008);
                   2      In re Tradex Swisss AG, 384 B
                                                      B.R. 34, 43 (Bankr. D. M
                                                                             Mass. 2008)..

        44
         4.        The phrase
                       p      “centter of main
                                             n interest” ((“COMI”) iis a term oof art, whichh the

Bankrupttcy Code do
                  oes not defin
                              ne explicitly
                                          y. Courts haave generallly equated C
                                                                             COMI to whhere a

debtor haas its princip
                      pal place of business. See
                                             S In re Be ar Stearns H
                                                                   High-Grade S
                                                                              Structured C
                                                                                         Credit

Strategies Master Fu
                   und, 389 B.R
                              R. 325, 336 (S.D.N.Y.
                                          (         22008) (notingg that “[a]n early bankruuptcy

court deccision that addressed
                     a         the determinaation of COM
                                                       MI specificaally discussees the [regullation

adopting the EU Con
                  nvention on Insolvency Proceedings
                                         P         s] language aand properlyy equates it tto the

United States’
       S       conceept of ‘princiipal place off business’” (citing In ree Tri-Continnental Exch. Ltd.,

349 B.R. 627, 629 (Bankr. E.D
                            D. Cal. 2006
                                       6)). The Bankruptcy C
                                                           Code providdes that “[i]nn the

absence of evidence to the contrary, the deb
                                           btor’s registtered office,, or habituall residence iin the

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case of an
        a individuaal, is presum
                               med to be thee center of tthe debtor’ss main intereests.” 11 U
                                                                                            U.S.C.

§ 1516(c). This preesumption may
                             m only be overcome bby evidencee that the deebtor’s regisstered

office is not
          n its COM
                  MI.

        45.        In Laavie v. Ran (In re Ran)), 607 F.3d 1017 (5th C
                                                                     Cir. 2010), the Fifth C
                                                                                           Circuit

identified
         d several factors
                   f       relev
                               vant to thee COMI annalysis: “the location of the debbtor’s

headquarrters; the loccation of tho
                                  ose who actu
                                             ually managee the debtorr; the locatioon of the debbtor’s

primary assets; the location of the majority
                                           y of the debbtor’s creditors or of a majority oof the

                  d be affected
creditors who would           d by the casee; and/or thee jurisdictionn whose law
                                                                                w would appply to

        putes.” (citiing In re Sph
most disp                        hinX, 351 B.R. 103 (Bannkr. S.D.N.Y
                                                                   Y. 2006)); seee also In re Bear

Stearns, 374
         3 B.R. at 129; In re Trradex, 384 B.R.
                                           B at 43 (““Such factorss as the locaation of a debbtor’s

headquarrters; the loccation of a debtor’s management; thee location off its assets aand creditorss; and

the site of
         o the contro
                    olling law are
                               a importan
                                        nt in determi
                                                   mining COMII.”); In re B
                                                                          Betcorp Ltd., 400

B.R. at 287-88 (refferring to Bear
                              B    Stearnss and Tradeex and alsoo to cases in the Euroopean

     nity for COM
Commun          MI analysis).

        46.        MtGo
                      ox’s COMI is clearly Japan
                                           J     underr all of thee relevant ccriteria. MtG
                                                                                          Gox’s

registered
         d office is located
                     l       in Tokyo,
                                T      Japan
                                           n. Most of MtGox’s peersonnel, including its C
                                                                                        Chief

Executiv           nd sole direector, reside in Japan. Thus, becauuse the Japaan Proceediing is
       ve Officer an

pending in MtGox’s COMI, it qu
                             ualifies for recognition
                                          r           aas a foreign main proceeeding pursuaant to

section 1517 of the Bankruptcy
                    B          Code.
                               C

        D.
        D          The Petitioner
                       P          is Entitled to Relief Purssuant to Secction 1517.

        47.        Sectio
                        on 1517 staates that an order recoggnizing a fo
                                                                     foreign proceeding “shaall be

entered” if all of the requirementts for recogn                      See 11 USC. § 1517. If all of
                                              nition have bbeen met. S

the requirements forr recognitio
                               on are satisffied, recognnition under section 1517(a) and ((b) is

mandatorry, unless grranting recog
                                 gnition woulld be fundam
                                                        mentally agaiinst public ppolicy pursuaant to

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section 1506
        1                    y Code. Seee H.R. Rep. 109-31, pt.. 1 (2005) ((“The decision to
             of the Bankruptcy

grant recognition is not      nt upon any findings aboout the natuure of the forreign proceedings
                     n dependen

. . . [t]he requirementts of this secction . . . are all that musst be fulfilledd to attain reecognition.”); see

also In ree Ran, 607 F.3d
                     F    at 1022
                                2 (“[t]his staatutory manddate is subjeect to a narrrow public ppolicy

exception
        n which perm
                   mits a court to refuse reccognition ‘iff the action w
                                                                       would be maanifestly conntrary

to the pu
        ublic policy of
                     o the United
                                d States.’ 11
                                            1 U.S.C. § 1 506. But, thhe exception is intended to be

invoked only
        o    under exceptional
                   e           circumstance
                               c          es concerninng matters off fundamenttal importancce for

the Uniteed States.”).

        48.        The JC
                        CRA was modeled
                                m       afterr Chapter IX
                                                        X of the U.S. Bankruptcyy Act of 1898 and

shares many
       m    of the core
                   c    objectiv
                               ves of the Bankruptcy
                                          B          C
                                                     Code. Courrts have routtinely recognized

the foreig
         gn main pro
                   oceedings commenced un
                                        nder the JCR
                                                   RA are not m
                                                              manifestly aagainst US ppublic

policy. See, e.g., In
                   I re Elpidaa Memory, Inc.,
                                        I     No. 122-10947 (Baankr. D. Dell. Apr. 24, 22012)

(granting
        g recognition
                    n of foreign main
                                 m proceeeding where company soought reorgaanization in JJapan

under JC
       CRA); In re Spansion Lttd., No. 09-1
                                          11480 (Bankkr. D. Del. M
                                                                 May 28, 20009) (same); In re

Japan Aiirlines Corp
                   p., No. 10--10198 (Ban
                                        nkr. S.D.N.Y
                                                   Y. Feb. 17,, 2010) (sam
                                                                         me). The JJapan

Proceedin
        ng satisfies all of the reequirements to be designnated as a fo
                                                                     foreign mainn proceedingg, and

recognitiion should th
                     herefore be granted.
                                 g

III.    THE
        T   ISSUANCE OF PRROVISION
                                 NAL RELIE
                                         EF INCLUDDING IMPO
                                                          OSITION O
                                                                  OF
        AUTOMATI
        A        IC STAY TO
                         T PROTEC CT MTGOXX IS APPRO
                                                   OPRIATE.

        49.        As sett forth abovee, it is likely
                                                    y that MtGoxx will be succcessful in obtaining an order

under seection 1517 recognizing Mr. Karp
                                       peles as itss foreign reepresentativee and the JJapan

Proceedin
        ng as a foreiign main pro
                                oceeding. Seection 1519((a) provides,, in pertinentt part:

        From the tim  me of filing a petition for recognittion until thhe court rulees on the
        petition, the court
                       c     may, ata the requesst of the foreeign represenntative wherre relief is
        urrgently need ded to protect the asseets of the ddebtor or inn the interessts of the
        crreditors, gran
                       nt relief of a provisionall nature, inclluding –

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        (1
         1) staying ex
                     xecution agaainst the debttor’s assets;

        (2
         2) entrusting
                     g the administration or realization off all or part of the debtoor’s assets
        lo
         ocated in thhe united states to thee foreign reepresentative or anotheer person
        au
         uthorized byy the court, including ann examiner, in order to protect andd preserve
         he value of assets that, by their naature or becaause of otheer circumstaances, are
        th
        perishable, su
                     ubject to dev
                                 valuation or otherwise
                                              o         inn jeopardy . . .

        50.        The standards app
                                   plicable to an
                                               a injunctionn apply to thhe relief to bbe granted uunder

section 1519(a).
        1        Seee 11 USC. § 1519(e). After recoognition, MttGox will bbe entitled to the

protection of the auttomatic stay
                                y of section 362 pursuannt to sectionn 1521(a)(1)). It is therrefore

appropriaate to issue provisional automatic stay
                                            s    relief ppending the issuance off the Recognnition

Order, to
        o ensure thaat MtGox, itts United Staates assets, and the Jappan Proceediing are prottected

pending issuance
        i        of that
                    t stay.

        51.        Sectio
                        on 1519(a) of
                                   o the Bank
                                            kruptcy Codde expresslyy permits thhe Court to grant

“relief off a provision
                      nal nature” from
                                  f    the tim
                                             me of a petiti on for recoggnition until the time thaat the

court rulles on that petition,
                     p         wheere such rellief is “urgeently neededd to protect the assets oof the

debtor orr the interesst of the creeditors.” 11 USC. § 15 19(a). Addiitionally, puursuant to seection

105(a), th
         his Court haas broad auth
                                 hority to “issue any ordeer . . . that is necessary or appropriaate to

carry outt the provisio
                      ons of [the Bankruptcy
                                  B          Code].”
                                             C       11 U
                                                        USC. § 105((a).

        52.        In ord
                        der to receiv
                                    ve automaticc relief on a provisionaal basis pursuant to secctions

105(a) an
        nd 1519(a) of
                   o the Bankrruptcy Code,, a debtor muust comply w
                                                                  with the stanndards goveerning

                                                                                   Bankr. N.D. Tex.
the issuance of a preeliminary injunction. Seee, e.g., In ree Vitro, 455 B.R. 571 (B

2011) (cciting In re Commonweealth Oil Reefining Co.,, 805 F.2d 1175, 1188 (5th Cir. 11986)

(“injuncttions issued under § 105
                                5 outside of a plan of reoorganizationn may be graanted only ‘uunder

the usuall rules for the                   nction.’”)); IIn re Ho Seeok Lee, 3448 B.R. 799, 802
                     t issuancee of an injun

(Bankr. W.D.
        W    Wash.. 2006) (notting that secction 1519 aauthorizes diiscretionary relief durinng the


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period beetween petitiion filing to petition recognition); seee also In re Wellpoint S
                                                                                     Sys. Inc., Noo. 11-

10423 (B
       Bankr. D. Del.
                 D    Feb. 11,
                           1 2011) (applying prreliminary iinjunction rrequirementss and

granting provisional relief to deebtor pursuant to sectionns 105 and 1519); In ree Crystallexx Int’l

Corp., No.      4 (Bankr. D. Del. Dec. 28,
       N 11-14074                      2 2011) (saame); In re G
                                                              Grant Forrestt Prods. Inc.,, No.

10-11132
       2 (Bankr. D.. Del. Apr. 19,
                               1 2010) (saame). For thhe reasons set forth abovve, Petitioneer has

established that he is likely to succeed on hiss petition to have the Jappan Proceediing recognizzed as

a foreign
        n main proceeeding and himself
                               h       recog
                                           gnized as forreign representative. Fuurther, as set forth

below, MtGox
       M     will suffer irreparrable harm iss such relieff is not granteed and all eqquities and ppublic

policy weeigh in favorr of the gran
                                  nting of such
                                              h relief.

        A.
        A          MtGo
                      ox Satisfies All
                                   A Requireements for IInjunctive R
                                                                   Relief.

        53.        MtGo
                      ox has comp
                                plied with alll of the reqquirements ffor an injuncction, and shhould

thereforee be afforded
                     d provisionaal relief, inclluding in thee form of ann automatic sstay as to thhe US

Litigation
         n Matters. Generally, in deciding whether to grant an innjunction, coourts in the Fifth

Circuit consider
        c        fou
                   ur factors: (ii) whether the
                                            t movant has shown a reasonabble probabiliity of

success on
        o the meritss; (ii) wheth
                                her the movaant will be irrreparably innjured by deenial of the rrelief;

(iii) whetther granting
                      g preliminarry relief will result in evven greater hharm to the nnonmoving pparty;

and (iv) whether graanting the prreliminary relief
                                            r      will bee in the pubblic interest. In re Vitro, 455

B.R. at 580
        5 (citing Winter
                  W      v. Naatural Resou
                                         urces Defensse Council, Inc., 555 U
                                                                           U.S. 7 (2008)); see

also In ree Commonw
                  wealth Oil., 805
                               8 F.2d at 1188.

                   1.     Likelihood of Successs on the Meerits.

        54
         4.        Becau
                       use it is lik
                                   kely that MttGox’s Japaan Proceedinng will be recognized as a

foreign main
        m proceed
                ding, at whicch point the section 362 automatic sttay will prottect its US aassets,

        o the meritts has been demonstrateed. See, e.gg., In re MM
success on                                                       MG LLC, 2556 B.R. 544, 552



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(Bankr. S.D.N.Y.
        S        20
                  000) (likeliho
                               ood of succeess on meritts was demoonstrated whhere it was llikely

that courrt would gran
                     nt comity to debtor’s forreign insolveency proceedding).

                   2.             ble Harm.
                          Irreparab

           55.     MtGo
                      ox will face immediate
                                   i         and
                                             a irreparabble harm if tthe US Litiggation Matterrs are

not stayeed. If the CoinLab
                    C       Mattter is alloweed to proceeed in any respect, MtGoox personnel will

need to spend
        s     substaantial time preparing
                                p         fo
                                           or and attendding deposittions, preparring responsses to

discovery
        y requests, and
                    a working
                            g with counssel and expeerts to draft expert repoorts. See Neevada

Power Co
       o. v. Calpinee Corp. (In re
                                r Calpine Corp.),
                                          C       365 B
                                                      B.R. 401, 4100 (S.D.N.Y. 2007) (enjooining

creditor from
         f    litigatin
                      ng against Chapter
                                 C       11 debtor’s
                                            d        guarrantor becauuse debtor would be forcced to

aid guaraantor’s defen
                     nse, causing
                                g “significan
                                            nt burden annd distractionn of key em
                                                                                mployees froom its

restructurring efforts””); In re R&G
                                   G Fin. Corp
                                             p., 441 B.R. at 411 (Bannkr. D.P.R. 22010) (irrepaarable

harm fou
       und where “[[d]ebtor wou
                              uld be the en
                                          ntity legally and financiially responssible in provviding

not only all the legall costs of [su
                                   ubsidiary’s] defense
                                                d       . . . but also its limited mannagerial resoources

would allso be divertted in assistiing towards the preparaation for succh proceedinngs”); In re JJapan

Airlines Corp., No. 10-10198 (B
                              Bankr. S.D.N
                                         N.Y. Jan. 288, 2010) (irrreparable haarm shown w
                                                                                        where

Chapter 15 debtor’s US assets could
                              c     be sub
                                         bject to credditors’ effortts to controll or possess such

assets).

           56.          ort, MtGox’ss discovery preparation must beginn now in thee CoinLab M
                   In sho                                                                   Matter

and mustt defend a TRO motion on March 11, 2014 in thhe Class Acttion if there is no provissional

stay, even though thee automatic stay
                                 s will be in place upoon recognitioon of the Jappan Proceediing in

the near future. Thiss will furtherr distract forr the reorgannization efforrt and resultt in a diversiion of

resourcess that otherrwise could
                               d be availab
                                          ble for the benefit of all creditorrs.               It has been

consisten
        ntly held thaat “the prem
                                mature piecin
                                            ng out of prroperty involved in a fooreign liquiddation

proceedin
        ng constitutees irreparablle injury.” In
                                               n re Lines, 81 B.R. 267, 270 (Bankr.. S.D.N.Y. 1988).

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It has alsso been held
                     d that harm to an estate exists
                                              e      wheree the orderlyy determinatiion of claim
                                                                                               ms and

the fair distribution
         d            of
                      o assets aree disrupted. See
                                               S Victrix S.S. Co., S.A. v. Salen Dry Cargo A.B.,

825 F.2d
       d 709, 714 (2d
                  ( Cir. 198
                           87). Finally
                                      y, irreparabl e harm has been foundd where alloowing

litigation
         n to go forw          ( threaten the assets oof a foreign estate, (ii) subject a fooreign
                    ward would (i)

representtative to a default jud
                               dgment, and
                                         d/or (iii) divvert funds needed for the purposse of

maximizing value fo
                  or the estatee’s creditorss. In re Gerrcke, 122 B..R. 621, 6266 (Bankr. D
                                                                                          D.D.C

1991).

         57.       Underr the Tokyo Court Ordeers, the stay that is in pllace in the JJapan Proceeeding

extends to all assetts wherever located, in
                                          ncluding asssets locatedd in the Unnited States. The

Petitioner is requestiing this Cou
                                 urt’s assistan
                                              nce to stay aany action orr proceedinggs by creditoors in

the Uniteed States, so
                     o that the reo
                                  organization
                                             n goals that aare intrinsic of the Japann Proceedingg can

be fulfilleed.

         58.       MtGo
                      ox’s successsful rehabiliitation requuires that thhe claims of all credditors,

whereverr situated, be
                    b resolved as
                               a part of th
                                          he foreign pproceeding. Allowing thhe US Litiggation

Matters to
        t go forwarrd thus preju
                               udices otherr creditors off MtGox, w
                                                                  whose claimss will be heaard in

the Japan
        n Proceedin
                  ng.         Given MtGox’s current
                                            c       liquiidity concernns, all potential savinggs are

necessary                                    a cannot bbe diverted tto litigation ccosts at this time.
        y to MtGox’’s reorganizaation effort and

MtGox also
      a    requiress the stewarrdship of its key empl oyees in the Japan Prooceeding. T
                                                                                      These

                   ng Karpeless, cannot be distractedd by attendding disposiitions, prepparing
employeees, includin

discovery
        y, and otherrwise overseeing the US
                                          S Litigation M
                                                       Matters. Inn short, if thee relief sougght in

the Appliication is no
                     ot granted, it is likely thaat MtGox’s eestate will bee substantiallly diminisheed.

                   3.     Balance of
                                  o Hardshipss.

         59.       The balance of thee hardships decidedly
                                                 d         faavors MtGoxx, because thhe other partties to

the US Litigation
       L          Matters
                  M       will suffer
                               s      little or no harm as a result of the requuested stay oof the

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proceedin
        ngs. This Co
                   ourt will sim          viding the saame relief too MtGox thaat will be granted
                               mply be prov

upon recognition of the Japan Prroceeding pu
                                           ursuant to seection 1520((a)(1). As a result, plaiintiffs

        S Litigation Matter will also benefitt from the reequested proovisional staay because it will
in the US

also prev
        vent the wassting of theirr resources before
                                              b      the sttay under seection 1520((a)(1) comess into

place. Certainly,
       C          no
                   o creditor or party to thee US Litigattion Matters will be harrmed if MtG
                                                                                           Gox is

granted the
        t full ben
                 nefit of a breathing periiod to allow
                                                     w it to focuss on its resttructuring efforts

without the
        t distractio
                   on that would result if th
                                            he US Litigattion Matterss were to prooceed. See allso In

re W.R. Grace & Co., 386 B.R
                           R. 17, 33 (Bankr. D. Deel. 2008) (w
                                                             weighing pottential harmss and

finding th
         hat “relative hardship off the parties favors
                                                f      the [dd]ebtors”).

                   4.     Public Intterest.

        60.        Granting the Appllication is cllearly in the public interrest because provisional relief

requested
        d by the Petitioner
                 P          ad
                             dvances the express puurpose of C
                                                             Chapter 15.                   See 11 U
                                                                                                  USC.

§§ 1501((a)(1)(B)-(a)(4). (“The purpose of th
                                            his chapter iss to . . . provvide effectivee mechanism
                                                                                                 ms for

dealing with
        w cases of
                o cross-bord
                           der insolven
                                      ncy with thee objectives of cooperaation betweeen the

courts an
        nd other com
                   mpetent auth
                              horities of fo
                                           oreign counttries involveed in cross-bborder insolvvency

cases . . . [and] proteection and maximization
                                  m          n of the valuue of the debbtor’s assets..”); see also In re

Integrated Health Seervs., Inc., 258
                                 2 B.R. 96
                                         6, 108 (Bankkr. D. Del. 2000) (“In the contextt of a

bankrupttcy case, pro
                    omoting a successful
                              s          reorganizatioon is one off the most important ppublic

interests.”).

        61.        Accorrdingly, it iss respectfully
                                                   y requested that this Coourt apply thhe automatic stay,

on a prov
        visional basiis, to temporrarily halt the US Litigattion Matters to protect M
                                                                                    MtGox’s assets in

the Uniteed States pen
                     nding recogn
                                nition.




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IV.     THE
        T   PROPO
                OSED NOT
                       TICE AND HEARING
                                H       ON RECOGNITION.

        62.        Bankrruptcy Rule 1011(b) pro
                                              ovides that a party be proovided 21 daays’ notice oof the

filing of a Chapter 15
                     5 petition. Fed.
                                 F R. Bank
                                         kr. P. 1011(bb). Bankrupttcy Rule 20002(q)(1) proovides

that a parrty is to be given
                       g     21 day
                                  ys’ notice of a hearing too consider grranting the rrelief requestted in

a Chapter 15 petition
                    n. Fed. R. Bankr. P. 200
                                           02(q)(1). Baankruptcy Ruule 9007 perrmits the Court to

prescribee the time, fo
                      orm and man
                                nner in which
                                            h notice shalll be given. Fed. R. Bannkr. P. 9007..

        63.        Bankrruptcy Rule 1011(b) also provides tthat any parrty objectingg to a petitioon for

recognitiion under Ch
                    hapter 15 sh
                               hall file such
                                            h objection w
                                                        within 21 daays of that uppon which nnotice

is served
        d. Fed. R. Baankr. 1011(b
                                b). The Petiitioner propooses to servee notice of thhe Petition w
                                                                                                within

three bussiness days of
                     o the date off the order granting the A
                                                           Application.

        64
         4.        As seet forth in the Applicaation, the P
                                                          Petitioner reqquests that the Recognnition

Hearing be
        b scheduled
                  d for a date to
                               t be determ
                                         mined and aggreed upon bby the Court and Petitionner on

or after March
         M     31, 20
                    014. This will
                              w provide the
                                        t required 21 days’ nootice and willl allow suffi
                                                                                       ficient

time for objections
         o          to
                     o the Petition
                                  n, if any, to be received in advance of the hearinng. Notice oof the

Recognittion Hearing
                   g, together with
                               w any orrder grantingg the Appliication, will be provideed to:

(i) the Deebtor; (ii) Mr.
                      M Nobuaki Kobayashi,
                                K          as
                                           a supervisorr and examinner of MtGoox; (iii) all parties

to the US
        S Litigation Matters; (iv)) the Office of the Uniteed States Truustee of the Northern Diistrict

of Texas; and (v) succh other parrties as the Court
                                              C     may ddirect (collecctively, the ““Notice Partties”).

The Petittioner proposes to notify
                                 y the Notice Parties
                                              P       by e--mail, facsim
                                                                       mile, and/or eexpress maill.

        65.        Such notice meetss the requireements of Ruule 2002(q) because it iis provided tto the

required parties with
                    hin the prosscribed time period, andd it is also in keeping with the Coourt’s

“discretio
         on to set thee particularitties of noticce procedurees” pursuant to Rule 90007. In re Piierce,

435 F.3d
       d 891, 892 (8
                   8th Cir. 2006
                               6).



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                                               NCLUSION
                                             CON      N

         66.       The Petitioner
                       P          resspectfully su
                                                 ubmits that th
                                                             the Petition ssatisfies the requiremennts for

the recog
        gnition of Mr.
                   M Karpeles, as MtGox’ss “foreign reepresentativee,” and for rrecognition oof the

Japan Proceeding as its “foreign
                               n main proceeeding.” Thee Petitioner further resppectfully reqquests

entry of an order pro
                    ovisionally applying
                                a        thee automatic stay of sectiion 362 to tthe US Litiggation

Matters pursuant
        p        to sections 105
                               5(a) and 151
                                          19(a) pendinng issuance oof the Recognition Ordeer, as

well as scheduling
        s          the
                   t Recognittion Hearing
                                        g and approoving the foorm and mannner of notiice to

interested
         d parties.

Dated:    March 9, 20014                          Respectfullyy submitted,,
          Dallas, Tex
                    xas
                                                  BAKER & McKENZIIE LLP

                                                  By:      /s/ Daavid W. Parrham
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                                                           - andd -

                                                           Erin E. Broderickk (pro hac vvice pending))
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                                                           Facsiimile: (312) 861-2899
                                                           Emaiil: erin.brodderick@bakeermckenzie.ccom

                                                           Attorrneys for thee Petitioner R
                                                                                          Robert Marie
                                                           Markk Karpeles, F  Foreign Reppresentative of
                                                           MtGoox Co., Ltd.,, a/k/a MtGoox KK


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